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                                             June 13, 2025

 The Honorable Joan M. Azrack
 United States District Judge
 Eastern District of New York
 100 Federal Plaza
 Central Islip, New York 11722

 RE:                   United States v. Vladimir Antonio Arevalo-Chavez
                       Criminal Docket No. 22-429 (JMA)

 Dear Judge Azrack:

        We are writing to respectfully ask the Court to consider the following
 additional arguments with respect to the Government’s motion to dismiss the
 indictment dated April 1, 2025 (ECF document #165): a) a supplement to our
 request that any dismissal be made with prejudice based on the newly-filed and
 translated documents related to the prosecution of our client in El Salvador, and b)
 additional support from recently-decided or recently-filed similar cases and new
 support from press and human rights organizations for seeking to insure that our
 client is afforded due process and an opportunity to raise objections to his being
 removed to El Salvador after the indictment is dismissed.

                                                 PART I
                       Any dismissal of the indictment should be “with prejudice”

       We will not repeat our discussion of the reasons for a court to consider
 dismissing an indictment “with prejudice” when the Government has made the
 motion to dismiss without prejudice (see our letter of April 23, 2025, ECF #167),
 except to repeat that when there is evidence of “bad faith” on the part of the
 government with respect to its reasons for making the motion that the argument for

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 dismissing with prejudice is strengthened. In our letter we described some reasons
 to consider the motion to be made in bad faith, and further on in this letter we ask
 the Court to consider some new facts that have emerged with respect to those
 reasons.

            1. Newly-Received Documents Show that Mr. Arevalo will
                          not get a trial in El Salvador

        The newly-received and now filed documents from El Salvador add an
 additional reason to believe that the Government’s stated reason for moving to
 dismiss the indictment is being made in bad faith. The document filed as ECF
 #178-5, described as an arrest warrant, shows that on January 6, 2025 “final
 sentence” was “issued and pronounced final” by a court in San Salvador, finding
 Mr. Arevalo-Chavez guilty of two counts of violating the Salvadoran criminal law;
 and that he has already been sentenced to serve fourteen (14) years and twenty-
 five (25) years respectively on the two charges. It is not clear if those terms are to
 run concurrently or consecutively, but in either event, what is clear is that he has
 already been tried and convicted “in absentia.” Our client avers that he never
 received any notice to appear in court to defend against the charges and was
 completely unaware of the judgment reflected in this document until we told him
 about it two weeks ago.

        We do not know if the Government was aware prior to obtaining the
 Salvadoran documents (at the direction of this Court) that our client had already
 been convicted, but even if not, the Government’s persistence in seeking a
 dismissal without prejudice for the reason “... so that El Salvador can proceed first
 with its criminal charges against the defendant under Salvadoran law. ...” (Motion
 dated April 1, 2025, ECF #155, page 2) cannot be a true and accurate justification
 for the request to dismiss the indictment because our client already has been
 prosecuted under Salvadoran law (without due process, we might add).

       The Government’s knowledge, at least as of receiving the Salvadoran
 documents, that our client has already been denied due process of law in El
 Salvador and is not likely to receive any in the future prior to his being
 incarcerated for most of the remainder of his life is, we submit, an indication of
 “bad faith” in its statement of reasons for moving to dismiss the indictment here.



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      2. The Government is aware that criminal prosecutions of alleged gang
         members in El Salvador do not meet the standard of due process.

        Even if our client were to “reopen” his case and get a new trial in El
 Salvador, it is not likely that he will receive due process. It does not take much
 research for the Government to have discovered – even if our client had not
 already been convicted in absentia – that the “state of emergency” invoked by the
 administration of the President of El Salvador, Najib Bukele, has resulted in a
 legal system that is completely lacking in due process. Our own State Department,
 in its most recent annual report on the state of human rights in El Salvador (called
 the “country condition” reports and relied upon heavily in the immigration courts
 as an authoritative and impartial analysis of the state of human rights in each
 country of the world), starts the report as follows:

              “EXECUTIVE SUMMARY

              “Under the state of exception, reports of gang violence
              decreased significantly, allowing citizens to exercise
              their right to life, liberty, and security of person, and to
              engage in daily activities and commerce without the
              constant threat of violence and extortion. Arbitrary
              arrests and mass pretrial hearings, however, undermined
              due process and exacerbated historically difficult
              conditions in overcrowded prisons.

              “Significant human rights issues included credible
              reports of: unlawful or arbitrary killings; enforced
              disappearance; torture or cruel, inhuman, or degrading
              treatment or punishment by security forces; harsh and
              life-threatening prison conditions; arbitrary arrest or
              detention; serious problems with the independence of the
              judiciary ...” 2023 Country Reports on Human Rights
              Practices: El Salvador, page 1.

 After discussion of the abuses that exist in the prison system (to be discussed
 herein later), the report discusses the lack of due process in the legal procedures
 now applied in cases in which a defendant is accused of being a gang member:

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       “E. DENIAL OF FAIR PUBLIC TRIAL.

       “Trial Procedures

       “The law provided for the right to a fair and public trial, but the state
       of exception suspended the right to be informed promptly of charges
       and the right to defense. Other rights were not always respected. The
       law allowed for trials for gang membership charges to proceed
       without the defendants’ physical presence, although with defense
       counsel participating in person. On July 26,the Legislative Assembly
       approved amendments to the law that would allow collective trials
       with up to 900 defendants for those who were already detained under
       the state of exception and were charged as gang members.” Id., at
       pages 8-9.

        Human Rights Watch, a well-respected organization, has released a report in
 2022 entitled “El Salvador: Sweeping New Laws Endanger Rights,” discussing
 changes in the laws and actions by the President of El Salvador which deprive
 defendants accused of gang-membership or gang-related criminal activity of due
 process rights in the courts. A News Release issued by the organization begins
 with the sentence, “Sweeping legal amendments passed by El Salvador’s
 Assembly in response to gang violence violate basic due process guarantees and
 children’s rights. ... (News Release, hrw.org, April 8, 2022). Some of what is
 discussed is not relevant to our case, but one of the points made is as follows:
 “The legislature also modified El Salvador’s Code of Criminal Procedure to allow
 for indefinite pretrial detention.” [Emphasis added.]

        Thus, again, the original rationale for requesting dismissal of the indictment
 against our client is either “bad faith,” (including “conscious avoidance” of the
 truth) or an honest lack of information by the government at the time the motion
 was made. In either event it is not “good faith” to suggest that our client is
 expected at this point to receive a fair trial or any other due process of law with
 respect to the charges of which he has already been convicted in El Salvador.




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                3. The Government is Aware that Prison Conditions
                in El Salvador are Inhumane and Amount to Torture

        As we stated in our original application for the dismissal to be “with
 prejudice” the fact that the government has to be aware that if removed to El
 Salvador our client will face horrific and inhumane prison conditions. There is
 more evidence of that since the filing of our last submission. We expect that if our
 client is put into removal proceedings the likelihood that he will be tortured if sent
 to CECOT or any other prison being used for detaining alleged gang members
 would be a basis for withholding of removal because of Article III of the
 Convention Against Torture (“CAT”)(1465 U.N.T.S. 85).

        Again, our government’s State Department’s 2023 Country Reports on
 Human Rights Practices (supra), states as follows regarding the prison conditions
 as of that year in El Salvador:

       “There were reports that the government or its agents committed
       arbitrary or unlawful killings, largely stemming from deaths of
       detainees while in prison, either from medical neglect or physical
       abuse. The human rights nongovernmental organization (NGO)
       Socorro Jurídico Humanitario recorded the deaths of 79 detainees as
       of August 16 and determined that 33 of the deaths were violent. The
       human rights organization Cristosal confirmed 71 deaths of detainees
       and determined that 13 of the deaths showed signs of violence,
       including beatings by a club or baton. In March the newspaper El
       Pais interviewed several released detainees, one of whom stated
       prison guards beat his cellmate to death. Socorro Jurídico
       Humanitario reported that 21detainees died from a lack of medical
       attention. Cristosal reported two of the detainees who died had
       anemia and 11 died of complications from illnesses such as diabetes
       to chronic kidney disease.” 2023 Country Reports on Human Rights
       Practices: El Salvador, page 2.

      In the same report, under the heading “Torture and Other Cruel, Inhuman or
 Degrading Treatment or Punishment and Other Related Issues” the following
 examples are noted:



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       “Human rights organizations and media outlets reported complaints
       of abuse and mistreatment of detainees by prison guards. On July 14,
       a coalition of human rights organizations at an Interamerican Human
       Rights Commission public audience stated they collectively
       interviewed more than 100 released detainees, many of whom
       reported systemic abuse in the prison system, including beatings by
       guards and the use of electric shocks. The coalition alleged the
       treatment of prisoners constituted torture.

       “On March 25, the newspaper El País reported a man released from
       Izalco prison said guards beat one of his cellmates to death with
       batons and the butts of their rifles. He also said guards activated
       electric stun guns against the prison’s wet floors to deliver electric
       shocks to all the prisoners in a cell.

       “Cristosal spoke with the family of a prisoner who died of stomach
       cancer on February 10, after being released from Zacatecoluca prison
       on January 28. Cristosal reported his body showed signs of torture,
       including significant bruising on his back and stomach, as well as
       signs of malnutrition and gastrointestinal hemorrhaging.” Id., at pages
       3-4.

 Again, this is the U.S. State Department report. It goes on to discuss the problems
 of severe overcrowding, a lack of food and potable water, and a lack of medical
 care and medicines (stating that even where medications were brought by family
 members “they often did not reach the prisoner.”).

         The 2023 report notes the construction of the new prison for “terrorists”
 which we now know as CECOT (Centro de Confinamiento del Terrorismo) had
 just been opened (as of January, 2023), but as of the date of the report there was
 little information on the conditions there. Since then there have been reports from
 human rights organizations and in the press showing that the conditions there are
 at least as bad as in the prisons the country was using before the “state of
 emergency.” One of the most detailed and well-illustrated reports was printed by
 the Spanish newspaper El Pais on May 29, 2023 under the title “Inmates in El
 Salvador tortured and strangled: The report denounces hellish conditions in
 Bukele’s prisons. The article starts with a summary statement:

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        “Dozens of inmates died as a result of torture, beatings, mechanical
        suffocation via strangulation or wounds or were left to die because of
        lack of medical attention. That is the primary result of an exhaustive
        investigation by Cristosal, the primary civil society human rights
        organization in El Salvador, after a year of the state of exception
        implemented by the government of president Nayib Bukele in his so-
        called “war on gangs.” El Pais, Inmates in El Salvador tortured...,
        May 29, 2023.1

 The report gives many examples and illustrations of the torture inflicted on
 inmates at CECOT, including (for example):

        “One of the clearest cases is that of a 30-year-old man whose dead
        body was given to his relatives with a protuberance on the neck. The
        medical documents reported that he died as a result of “mechanical
        asphyxiation by strangling.” The autopsy of another man, a 42-year-
        old who died in a police cell, determined the cause of death
        ‘mechanical asphyxiation by choking.’ ... Id.

        “Other cadavers presented other signs of torture. In the case of a 32-
        year-old man whose body was delivered to his family, the autopsy
        determined the cause of death was a ‘severe contusion-type closed
        thorax trauma.’ According to the report, the body had deep wounds
        on the elbow, blows on the forearm and a wound of approximately
        eight centimeters on the left side of the head. ... Id.

       There have been a number of authoritative reports in the press which detail
 what happens to individuals confined in CECOT and the other prisons in El
 Salvador. As one reporter stated:

        “Within years [of declaring the ‘state of emergency’ due to gang
        violence] El Salvador had traded the highest homicide rate in the
        world for the highest per capita incarceration rate in the world. ... A



 1
  https://english.elpais.com/international/2023-05-29/inmates-in-el-salvador-tortured-and-strangle
 d-a-report-denounces-hellish-conditions-in-bukeles-prisons.html

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       recent court filing by Human Rights Watch stressed that people
       detained in CECOT are held almost entirely incommunicado, cut off
       from family or lawyers, and “only appear before courts in online
       hearings, often in groups of several hundred detainees at the same
       time.” The New York Review, “The Roots of Bukele’s Gulag,” by
       John Washington, June 1, 2025.2

         Those reports and articles give more detail. The Government must be aware
 of at least some of the reports of the prison conditions in El Salvador, particularly
 at CECOT which is clearly where Mr. Arevalo would be sent if deported to El
 Salvador. The willingness to allow that to happen, we submit, constitutes bad faith
 in making the application to dismiss the indictment.

                         4. Corrupt Bargain with El Salvador

       The Government opposed our reliance on United States v. Adams, No. 24-
 CR-556 (DEH)(S.D.N.Y. April 2, 2025) stating that the case was inapposite
 because there was an appearance of “an alleged quid pro quo to exact policy
 concessions from the Mayor [the defendant].” Government letter dated April 30,
 2025, [this letter does not appear to be filed on the public docket], at page 3. It
 now appears that there is a quid pro quo involved here, but not between the
 government and the defendant, but rather between the government and the
 President of El Salvador, for which our client is, in fact, the victim, as we will
 explain.

       First, in the article from The New Yorker that we previously referenced,
 “The Terrorism Suspect Trump Sent Back to Bukele,” (about Cesar Humberto
 Lopez Larios), dated April 18, 20253 the subtitle is:

       “An MS-13 leader knew key details of a secret deal that his gang
       allegedly made with the Salvadoran President—then the White House
       put him on a flight to El Salvador.”


       2
              https://www.nybooks.com/online/2025/06/01/the-roots-of-bukeles-gulag/
       3
              https://www.newyorker.com/news/the-lede/the-terrorism-suspect-trump-sent-back
              -to-bukele

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 The article describes the emerging information concerning Salvadoran President
 Bukele’s deals with key MS-13 and other alleged gang leaders to make himself
 look good by reducing the violence inflicted on the population by the gangs in
 return for certain benefits secretly given to gang members. Note that this, in
 general terms, is referred to in the indictment in this case, ECF Document #18, at
 page15, paragraph 31:

       “31. Starting in approximately 2012, the Ranfla Nacional engaged in
       secret negotiations with members of the then-ruling Farabundo Marti
       National Liberation Front ("FMLN") party of El Salvador, and MS-
       13's principal rival, the 18th Street gang, to enter into a ‘truce’ to
       reduce homicides in El Salvador in exchange for transfers to less
       secure prisons, improved prison conditions, conjugal visits, cash
       payments, and other benefits and privileges.”

 Other details are included in the indictment.

        That is not the secret deal that we are referring to here. The corrupt deal is
 between our government and President Bukele to dismiss charges pending in the
 United States against a certain number (and not all) of the alleged gang leaders
 who may have direct information about the “Ranfla” deal described in the
 indictment so that they can be returned to El Salvador and silenced by Bukele’s
 administration there. The New Yorker article gives a detailed account of the
 background of the “secret deal” between Bukele and the gang leaders, focusing on
 the role of an individual named Elmer Canales Rivera (nicknamed “Crook de
 Hollywood” or just “Crook)(who is, as far as we can tell, in custody in
 Pennsylvania after being arrested in Mexico). Key sentences in the article on the
 importance of getting some of the gang members/leaders back include:

       “‘The U.S. government’s evidence implies that the gangs were
       Bukele’s partners in dismantling democracy,’ Jeannette Aguilar, a
       Salvadoran security analyst, told me [the reporter]. ‘If the D.O.J.’s
       cases are able to move ahead, it could be the end of the Bukele
       regime.’...

       “Crook’s testimony could have an outsized impact in El Salvador,
       where, even after the news reports and U.S. sanctions, many people

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       remain unaware of the evidence against the Bukele administration.”
       Id.

 Canales had been quietly released from custody in El Salvador after the deal he
 made with Bukele, but then eventually arrested in Mexico and sent to the United
 States (as our client was). The article ends with the following observation
 concerning Lopez Larios (a/k/a “Grenas”).”

       “Ricardo Flores, a Salvadoran journalist who has followed the MS-13
       prosecutions from the beginning, ... [said]: ‘The D.O.J. has accused
       the Salvadoran government of escorting Crook, an actual terrorist, out
       of El Salvador,’ Flores said. “And now another accused terrorist,
       Grenas [Lopez Larios], has been quietly delivered by the U.S. back
       into Bukele’s hands.” Id., emphasis added.

        An online news source called Dropsite gives much more detail about Lopez
 Larios (“Grenas”) and the apparent relationship between the U.S. government’s
 motion to dismiss the indictment against Cesar Humberto Lopez Larios and the
 almost simultaneous removal of alleged Venezuelan gang members to El Salvdor
 to be confined in CECOT. The article entitled “Secret Bukele Deal Lies Behind
 Trump’s El Salvador Deportations,”4 dated March 30, 2025, by Jose Oliveras and
 Ryan Grim states among a great deal of other information, as follows:

       “... Not only did Trump deport Venezuelans who were likely
       completely innocent, but also a specific MS-13 members who is
       emblematic of alleged corruption at the highest ranks of the
       Salvadoran government; a man called ‘Greñas.’ ...

       “According to a federal indictment, as a leader of MS-13, Greñas was
       involved in secret negotiations between the gang and Bukele’s
       government, aimed at lowering gang violence in exchange for
       political support. Bukele denies the negotiations ever took place, but
       has long sought to get ahold [sic] of high-ranking members of MS-13
       who participated, working to keep such figures out of the hands of the
       United States before they can have their day in open court...


       4
             https://www.dropsitenews.com/p/secret-bukele-trump-deal-grenas

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        “But despite being a high-value target and a founding leader of MS-
        13, earlier this month on March 11, the U.S. government dropped all
        charges against him. Four days later he was on an airplane to El
        Salvador.

        “The same day, Trump had signed an executive order, invoking the
        Alien Enemies Act of 1798, a wartime law, allowing the government
        to detain and expel citizens of ‘an enemy nation.’ Greñas was among
        more than 250 people the Trump administration had placed on
        airplanes to El Salvador...

        “‘One of the worries that Bukele has is what these gang leaders could
        say in U.S. courts said Ana Maria Mendez Dardon, ,,, [of the
        Washington Office on Latin America]. Especially what type of
        information they could reveal that might implicate Bulele.’” Id.

        In an article in the online version of the El Faro newspaper from El
 Salvador, additional detail and confirmation of the deal between the Trump
 administration and the Bukele administration is elucidated. The article by Gabriel
 Labrador dated February 6, 2025, entitled “Offering US His Torture Prisons,
 Bukele Wants MS-13 Leaders Back”5 is probably the first to outline the effort by
 Bukele to seek the return of MS-13 gang leaders who could implicate him in the
 negotiations between Bukele and the gangs for political support. At the end of the
 article, after discussing the Salvadoran efforts to get “Crook” (Elmer Canales)
 back from the United States, the article mentions that our client, Mr. Arevalo-
 Chavez, also known as “Vampiro,” is one of the defendants in the United States
 that Bukele wants back in El Salvador so he can silence him:

        “Of the 27 defendants charged in the New York court, prosecutors
        named, in addition to Crook, six gang members for their direct
        participation in the negotiations with Bukele’s government, known by
        the aliases Vampiro, Renuente, Cisco, Big Boy, Cruger, and Snayder.
        They are among those who Bukele has requested from the United
        States, in the words of Ambassador Mayorga, as a ‘point of honor.’”


        5
               https://elfaro.net/en/202502/el_salvador/27734/offering-us-his-torture-
 prisons-bukele-wants-ms-13-leaders-back

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       Id.,( emphasis added).
       See also, article in Mother Jones, The Real Reason El Salvador’s President
 Nayib Bukele Cozied Up to Trump,” dated April 14, 2025, by Michael
 Montgomery.6

        Finally, an article was just released online by ProPublica which recounts in
 detail the history leading up to the instant motion by the government to dismiss
 this case. In “Delay, Interfere, Undermine” by T. Christian Miller and Sebastian
 Rotella, ProPublica, June 12, 2025 [today]7, the authors not only recount the
 evidence of the corrupt deal between gang leaders and President Bukele, but
 include information about how USAID funds were used in the arrangement, and
 that Bukele’s government blocked the extradition of gang leaders to the United
 States who have information about the “deal.” The article points out that many of
 the Salvadoran defendants who were transferred to the United States arrived here
 because of the role of Mexican law enforcement (as in our case, and the case of
 Lopez Larios).

         In the final section of the article the report recounts the motions to dismiss
 the indictments made in our case and in the case of Lopez Larios with the evidence
 that it is part of an agreement between our government and Bukele to help him get
 the people back to El Salvador who could give testimony against Bukele with
 respect to his corrupt deal with the gangs. The article notes:

        “Despite the harsh treatment of gang members — an estimated 14,500
        people are now held in CECOT — one thing did not change: The
        Bukele government continued to refuse to extradite senior MS-13
        leaders to the United States.

        “The reasons for Bukele’s alleged protection of the gang leadership
        versus his relentless pursuit of the rank and file are the subject of
        speculation in both the United States and El Salvador. One possible


        6
               https://www.motherjones.com/politics/2025/04/el-salvador-nayib-bukele-trump
               -deportation/
        7
                https://www.propublica.org/article/bukele-trump-el-salvador-ms13-gang-vulcan-
 corruption-investigation

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       explanation, according to current and former U.S. and Salvadoran
       officials: Bukele is aware that Vulcan [the name of the investigative
       operation] was gathering evidence that could lead to criminal charges
       and political damage. The imprisoned leaders are potential witnesses
       to his alleged deal with MS-13, while El Salvador’s street-level
       gangsters are not. ...”

       “In filing the charges, prosecutors made their strongest public
       accusations yet about deals between the Bukele government and the
       gangs. Without naming the president or his allies, prosecutors alleged
       that MS-13 leaders agreed to use their vast political influence to turn
       out votes for candidates belonging to Bukele’s Nuevas Ideas party in
       legislative elections in 2021.

       “The gang bosses also “agreed to reduce the number of public
       murders in El Salvador, which politically benefitted the government
       of El Salvador, by creating the perception that the government was
       reducing the murder rate,” the indictment said.

       “As part of the arrangement, the senior MS-13 leaders demanded that
       the Bukele government refuse to extradite them, the indictment said.
       The alleged condition appears to be in effect. To date, none of the
       extradition requests for more than a dozen high-ranking gang
       members has been approved.

 The article then discusses the role of the motions to dismiss the indictments made
 by AUSA John Durham and how the timing of the motion shows that it is part of
 the deal between the Trump administration to have El Salvador accept Venezuelan
 (and other) deportees who are not from El Salvador:

       “There has been a remarkable recent development related to MS-13,
       however. After more than five years leading the Vulcan task force,
       Durham wrote letters asking the judge overseeing the cases to dismiss
       charges against two gang leaders in U.S. custody, allowing them to be
       deported to El Salvador. The letters were dated March 11 and April 1,
       weeks after the Trump administration began negotiating the mass
       deportation deal with Bukele’s government. ...

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        “César Humberto López Larios, a member of the Ranfla known as
        “Greñas,” ... López, identified in media reports, is featured in a slickly
        produced video posted by Bukele on X, kneeling in the prison, his
        head shaved. ...

        “Then, in April, Durham asked for the dismissal of terrorism charges
        against a lower-ranking MS-13 prisoner, Vladimir Antonio
        Arevalo-Chavez, alias “Vampiro,” according to recently unsealed
        court records. ...”

        “During the negotiations over the use of El Salvador’s prison, Trump
        officials agreed to pay some $6 million to house the deported men
        and acceded to an additional demand.

        “Bukele had one specific request, according to Milena Mayorga, his
        ambassador to the United States.

        “ ‘I want you to send me the gang leaders who are in the United
        States,’ she quoted Bukele as telling U.S. Secretary of State Marco
        Rubio.” Id.

       Note also that each of these press reports, cited here to show the unstated
 motive for moving to dismiss the criminal indictment, also provides additional
 evidence of the conditions in the prisons in El Salvador – especially, but not only,
 of CECOT8 – which amount to torture.

        In short, we submit that “the real reason” for the motion to dismiss this
 indictment, as it was in the case of Cesar Lopez Larios, has nothing to do with
 justice, either for the United States or for our client, and has everything to do with
 politics. Just as in the Eric Adams case, the motives behind moving to dismiss the
 indictment are political. Simply put, our government wants a place to send
 deportees who can’t be returned to their home counties (particularly Venezuela)


        8
                See article in The New Yorker, supra (footnote 3), which, in discussing another
 prison called “Zacatraz” notes: “(While much attention is now being paid to the miseries of
 CECOT, conditions are even worse in the country’s other prisons, where most incarcerated
 Salvadorans are kept.)”

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 where, instead of being released into the country of removal they will be held
 indefinitely in a horrific prison, and to do so is making a deal to dismiss a case so
 that this defendant – and no doubt others – can be sent to El Salvador to be
 silenced by the Bukele administration so that they will not provide politically
 damaging information and testimony against Bukele.

       We submit that if this is the basis for the motion to dismiss this amounts to
 bad faith, and the dismissal should be with prejudice.

                                        PART II

           Defendant’s Request for a Delay in the Entry or Effective Date
                             of the Dismissal Order

       The second part of our application is our request to delay entry of a
 dismissal order to give us sufficient time to file a writ of habeas corpus in order to
 make sure our client is put into immigration proceedings so that he can assert his
 claims pursuant to Article III of the United Nations Convention against Torture
 and Other Cruel, Inhuman or Degrading Treatment or Punishment, Dec.10 1984,
 1465 U.N.T.S. 85 , and the Immigration and Nationality Act, 8 U.S.C. § 1101,
 1158, 1231(b)(3), and 8 CFR § 208.16 and § 208.18.

       It is clear through several of the highly-publicized lawsuits relating to the
 removal of undocumented immigrants that the Trump administration cannot be
 counted on to follow the normal removal procedures as required by statutes,
 regulations, and the treaty (the Convention Against Torture). For that reason we
 seek a few days (up to a week, depending on which days turn out to be the days
 following any entry of a dismissal order by this Court) to finalize and file a writ,
 and to have the judge assigned to hear the writ rule on an emergency stay of
 removal application as well as applications to have our client remain in the New
 York area while his rights under the immigration laws are being pursued.

        As noted previously, a similar request was made in the Eastern District of
 Virginia and was granted to the extent that the Court there ordered, with respect to
 the dismissal of the complaint (no indictment had been filed yet), as follows:

       “ORDERED that the entry of the dismissal of the criminal complaint

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       against the Defendant is STAYED until 10:00am ET on Friday, April
       18, 2025 [which was three days after the Order was entered] to permit
       Defendant to appeal this Order or pursue other remedies; and it is
       further

       “ORDERED that the Defendant shall remain in the custody of the
       United States Marshal until 10:00am ET on Friday, April 18, 2025;
       and it is further

       “ORDERED that the Defendant may not be transferred to the
       custody of the Department of Homeland Security before 10:00am ET
       on Friday, April 18, 2025.” (Full document attached as Exhibit A
       to our submission of April 23, 2025, ECF#167).

       We would first point out that even though the defendant has never been to
 the United States until he was forcibly shuttled here (to Texas) by Mexican law
 enforcement working with U.S. law enforcement, he still has a right to seek relief
 from removal to a country where he might face persecution, torture, or death. He
 may be able to apply for asylum pursuant to 8 U.S.C. § 1158(a)(1) or withholding
 of removal pursuant to 8 U.S.C. § 1231(b)(3).

        Even if he were not eligible for those two forms of relief from removal, he is
 certainly eligible for relief under the Convention Against Torture (supra). There
 are two procedures for evaluating the non-citizen’s rights under CAT depending
 on whether he is in immigration court removal proceedings or whether he is being
 removed pursuant to the laws providing for “expedited removal,” but both of them
 provide for an immigration judge to make a final review of the non-citizen’s right
 to withholding of removal from any country where it is “more likely than not” that
 he will be tortured or killed at the hands of, or with the acquiescence of (“turning a
 blind eye), of the government of the country to which he would be removed.

      Treaties have the force of law, just as a statute does. See U.S. Constitution,
 Supremacy Clause (Article VI, Clause 2).

       Under expedited removal proceeding any non-citizen in the United States
 who can be subject of “expedited” removal proceedings who expresses a fear of
 being removed to a country where he would be persecuted or tortured is entitled

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 initially to an interview and evaluation by an immigration officer. See 8 U.S.C. §
 1225(b)(1)(A)(ii).

        If the asylum officer finds that there is a “significant possibility” that the
 non-citizen is entitled to relief the case is referred to an immigration judge for a
 full asylum or CAT-only hearing (with the issuance of a Notice to Appear). See 8
 U.S.C. § 1225(b)(1)(A)(ii) and 8 C.F.R. §§ 208.16(a), (c)(4), 1240.17(f)(2)(i)(B),
 and 1208.30(g)(2)(iv)(B).

       If the asylum officer finds that there is insufficient reason to believe that the
 non-citizen is entitled to relief, the case is still reviewed (in a more limited
 proceeding) by an immigration judge, who, if he or she overrules the
 determination of the asylum officer, will refer for a full asylum or CAT-only
 hearing in immigration court, and if not, will order removal. 8 C.F.R. §§
 208.14(c)(1), and 1240.17(a). Even then, the non-citizen has a right to request
 reconsideration by USCIS of the negative determination. 8 C.F.R. §
 208.30(g)(1)(I).

        Because all of this can take some time it is imperative that Mr. Arevalo-
 Chavez not be removed to El Salvador before the procedures are completed. It
 would also severely hamper Mr. Arevalo’s rights if he were moved to some other
 part of the country where he might (as has been shown in other recent cases) be
 unable to contact his attorneys or to assert his rights in the appropriate forum
 (either with an asylum officer or in immigration court) as set out in the description
 of the procedures above.

        Press coverage of cases brought in federal district courts to preserve the
 rights and due process of non-citizens being removed show a pattern of the current
 administration of ignoring court orders, interpreting them in an unreasonable
 manner, and making efforts to race to remove people before they can assert their
 rights or before a district court can order that their right to due process be applied.
 See, for example, A.A.R.P. v. Trump, (N.D. Texas, 4/16/2025), 25 cv 59 (H),
 where after giving only 24 hours notice to detainees, in English, of their right to
 seek relief from removal, they were whisked away to an airport and were only
 prevented from being put on airplanes to El Salvador by the quick action of the
 A.C.L.U. in seeking a writ of habeas corpus at all three levels of the federal courts.
 See, also, the history of the case from the District of Columbia which ended up in

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 the U.S. Supreme Court after the government ignored an order by District Judge
 Boasberg to halt the removal of Venezuelans and to turn the airplane around to
 return to the United States. J.G.G. v. Trump, 25-cv-00766-JEB (D.D.C,, 2025).
 See also, the per curiam decision in Trump v. J.G.G., 604 U.S. __, (2025), Case
 No. 24A931 (April 7, 2025), where the U.S. Supreme Court (which vacated TRO’s
 issued by the District Court and confirmed by the Court of Appeals solely on the
 ground that the District of Columbia was the wrong jurisdiction for bringing the
 habeas applications) stated clearly that non-citizens are entitled to due process
 before being removed from the United States. In other cases the administration has
 raced to get migrants out of the United States before their attorneys could get
 restraining orders from courts, including the one involving eight migrants who
 were being sent to South Sudan after being given only 24 hours notice of their
 removal and no ability to contest it. See, D.V.D. et al v. U.S. Department of
 Homeland Security et al, 25-cv-10676 (BEM), filed 3/23/2025.

        Finally, the case of Kilmar Abrego Garcia, where the Trump administration
 refused to take the steps required by the U.S. Supreme Court to “facilitate” the
 return of the wrongly-deported man (and Salvadoran President Bukele made fun of
 the Supreme Court’s order) until the administration changed course and caused his
 return because they decided he could be prosecuted for crimes allegedly
 committed in Tennessee. See Noem v. Abrego Garcia, U.S. Supreme Court, 604
 U.S. __ (4/10/2025), Case No. 24a949.

       On behalf of our client, we want to be certain that he will have the
 opportunity to raise his strong claim of the likelihood that if removed to El
 Salvador he will be tortured or killed in prison.

                                     Conclusion

         We respectfully ask the Court to grant the government’s motion only to the
 extent that the indictment against Mr. Arevalo-Chavez be dismissed with
 prejudice, on the grounds that the unstated motive behind the motion reveals “bad
 faith” in four respects: 1) the government knows that the defendant already was
 tried, convicted, and sentenced in absentia and thus will not, as the request
 suggests, be “tried” in El Salvador, 2) the government is aware that prosecutions
 in El Salvador of alleged gang members do not meet universally-accepted
 standards of due process based on our own State Department reports on human
 rights conditions in El Salvador, 3) the government knows that it is highly likely

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 that the defendant will be tortured or “disappeared” in the prison system of El
 Salvador, based on a well-documented history of torture of inmates and the motive
 the Salvadoran President has to silence him, and 4) that the motion is actually the
 product of an arrangement between the government of El Salvador and the Trump
 administration to return the alleged gang members who have damaging
 information about President Bukele in return for El Salvador accepting deportees
 from Venezuela and other countries even though the deportees have no connection
 with El Salvador and are likely to be incarcerated indefinitely.

         We also respectfully ask that after the dismissal order is issued that we have
 a few days before the effective date of the order so that we can file a writ of
 habeas corpus in an effort to ensure that Mr. Arevalo-Chavez receives due process
 in the removal process, and is not simply shipped off to El Salvador to face likely
 torture and possible death without his being able to assert his rights under Article
 III of the Convention Against Torture and our immigration laws and regulations.

                                         Respectfully submitted,

                                         /s/ Louis M. Freeman
                                         Louis M. Freeman

                                         /s/ Thomas H. Nooter
                                         Thomas H. Nooter
                                         Attorneys for Defendant Arevalo-Chavez




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